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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------ x
CIERA WASHINGTON,                                                  :
                                                                   :
                                    Plaintiff,                     :
                                                                   :
                  -against-                                        :       No. 17-cv-2393 (JMF)
                                                                   :
WALGREENS; WALGREENS CO.; DUANE                                    :       RULE 7.1 DISCLOSURE
READE; DUANE READE INC.; DUANE READE                               :       STATEMENT
INTERNATIONAL, LLC; and Individually and                           :
                                                                   :
Jointly, LUIS GUERRERO; GERMAINE ALLEN;
                                                                   :
VIVIAN GHOBRIAL; and CRYSTAL BECKRUM, :
                                                                  :
                                                                  :
                                    Defendants.
------------------------------------------------------------------ x

        Pursuant to Federal Rule of Civil Procedure 7.1 and the Local Rules of the U.S. District

Court for the Southern District of New York, Defendants Walgreens, Walgreen Co. (incorrectly

named herein as Walgreens Co.), Duane Reade, Duane Reade Inc., and Duane Reade

International, LLC, by and through their attorneys, Ogletree, Deakins, Nash, Smoak & Stewart,

P.C., hereby state that: Walgreens and Duane Reade are trade names for Walgreen Co. and

Duane Reade, Inc., respectively, and are not legal entities. Duane Reade International, LLC was

a wholly-owned subsidiary of Duane Reade, Inc., but is no longer a legal entity.

        Duane Reade, Inc. is a wholly-owned subsidiary of Duane Reade Holdings, Inc. Duane

Reade Holdings, Inc. is a wholly-owned subsidiaries of Walgreen Co. Walgreen Co. is a wholly-

owned subsidiary of Walgreens Boots Alliance, Inc.                     Walgreens Boots Alliance, Inc. is a

publicly traded corporation on the NASDAQ Stock Exchange.
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Dated: New York, New York
       July 31, 2017
                                      OGLETREE, DEAKINS, NASH,
                                       SMOAK & STEWART, P.C.

                                      By: /s Aaron Warshaw
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                                      Attorneys for Defendants Walgreens, Walgreens
                                      Co., Duane Reade, Duane Reade Inc., and
                                      Duane Reade International, LLC
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                                CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that, on July 31, 2017, the foregoing Rule 7.1

Disclosure Statement was electronically filed with the Clerk of the District Court using the

CM/ECF system, which sent notification of such filing to all counsel of record for all parties.

                                  Laurie E. Morrison, Esq.
                                  LAW OFFICES OF LAURIE E. MORRISON
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                                  Attorney for Plaintiff



                                                                /s Nicole A. Welch
                                                                   Nicole A. Welch

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